     Case 2:21-cv-01619-DMG-KS          Document 35 Filed 04/15/21    Page 1 of 15 Page ID
                                              #:424

 1   James P. Carter (SBN 150052)
     James.Carter@jacksonlewis.com
 2   Kelli M. Dreger (SBN 267404)
     Kelli.Dreger@jacksonlewis.com
 3   JACKSON LEWIS P.C.
     200 Spectrum Center Drive, Suite 500
 4   Irvine, CA 92618
     Telephone: (949) 885-1360
 5   Facsimile: (949) 885-1380
 6   Attorneys for Plaintiff
     PERKINELMER HEALTH SCIENCES, INC.,
 7   PERKINELMER GENETICS, INC., and
     PERKINLEMER, INC.
 8
                               UNITED STATES DISTRICT COURT
 9

10                           CENTRAL DISTRICT OF CALIFORNIA
11

12   PERKINELMER HEALTH SCIENCES, CASE NO.: 2:21-cv-1619-DMG-KS
     INC., a Delaware Corporation,      Assigned to the Hon. Dolly M. Gee
13   PERKINELMER GENETICS, INC., a
     Pennsylvania Corporation, and
14   PERKINELMER, INC. a Massachusetts
     Corporation.                      [PROPOSED] PROTECTIVE ORDER
15

16
                          Plaintiffs,
            vs.
17
                                                   Complaint Filed: February 22, 2021
18   MAHNAZ SALEM, an individual; and
     DOES 1 through 25, inclusive,
19

20                        Defendants.

21

22
     1.     PURPOSES AND LIMITATIONS
23
            Discovery in this action is likely to involve production of confidential, proprietary,
24
     or private information for which special protection from public disclosure and from use
25
     for any purpose other than prosecuting this litigation may be warranted. Accordingly,
26
     Plaintiffs PerkinElmer Health Sciences, Inc., PerkinElmer Genetics, Inc. and
27
     PerkinElmer, Inc. (“PerkinElmer” or “Plaintiffs”) hereby petition the Court to enter the
28


     CASE NO.: 2:21-cv-1619-DMG-KS                 1                 [PROPOSED] PROTECTIVE ORDER
     Case 2:21-cv-01619-DMG-KS       Document 35 Filed 04/15/21         Page 2 of 15 Page ID
                                           #:425

 1   following Protective Order. This Order does not confer blanket protections on all
 2   disclosures or responses to discovery and that the protection it affords from public
 3   disclosure and use extends only to the limited information or items that are entitled to
 4   confidential treatment under the applicable legal principles. It is further acknowledged, as
 5   set forth in Section 13.3, below, that this Protective Order does not entitle them to file
 6   confidential information under seal; Civil Local Rule 79-5 sets forth the procedures that
 7   must be followed and the standards that will be applied when a party seeks permission
 8   from the court to file material under seal.
 9   2.     GOOD CAUSE STATEMENT
10          This action is likely to involve confidential information and other information
11   protected by the right of privacy, trade secrets, customer lists, customer account
12   information,    development,    commercial,       financial,   technical   and/or   proprietary
13   information for which special protection from public disclosure and from use for any
14   purpose other than prosecution of this action is warranted. Such confidential and
15   proprietary materials and information consist of, among other things, confidential
16   business or financial information, information regarding confidential business practices,
17   or other confidential research, development, or commercial information (including
18   information implicating privacy rights of third parties), information otherwise generally
19   unavailable to the public, or which may be privileged or otherwise protected from
20   disclosure under state or federal statutes, court rules, case decisions, or common law.
21   Accordingly, to expedite the flow of information, to facilitate the prompt resolution of
22   disputes over confidentiality of discovery materials, to adequately protect information the
23   parties are entitled to keep confidential, to ensure that the parties are permitted reasonable
24   necessary uses of such material in preparation for and in the conduct of trial, to address
25   their handling at the end of the litigation, and serve the ends of justice, a protective order
26   for such information is justified in this matter. Information will not be designated as
27   confidential for tactical reasons and that nothing be so designated without a good faith
28


     CASE NO.: 2:21-cv-1619-DMG-KS                 2                  [PROPOSED] PROTECTIVE ORDER
     Case 2:21-cv-01619-DMG-KS       Document 35 Filed 04/15/21      Page 3 of 15 Page ID
                                           #:426

 1   belief that it has been maintained in a confidential, non-public manner, and there is good
 2   cause why it should not be part of the public record of this case.
 3   3.     DEFINITIONS
 4          3.1    Action: PerkinElmer Health Sciences, Inc., PerkinElmer Genetics, Inc. and
 5   PerkinElmer, Inc. v. Mahnaz Salem, Case No. 2:21-cv-1619-DMG-KS.
 6          3.2    Challenging Party: a Party or Non-Party that challenges the designation of
 7   information or items under this Order.
 8          3.3    “CONFIDENTIAL” Information or Items: information (regardless of how it
 9   is generated, stored or maintained) or tangible things that qualify for protection under
10   Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
11   Statement.
12          3.4    “HIGHLY CONFIDENTIAL” Information or Items: extremely sensitive
13   “CONFIDENTIAL” Information or Items, the disclosure of which to another Party or
14   Non-Party would create a substantial risk of serious harm that could not be avoided by
15   less restrictive means.
16          3.5    Counsel: Outside Counsel of Record and House Counsel (as well as their
17   support staff).
18          3.6    Designating Party: a Party or Non-Party that designates information or items
19   that it produces in disclosures or in responses to discovery as “CONFIDENTIAL” or
20   “HIGHLY CONFIDENTIAL.”
21          3.7    Disclosure or Discovery Material: all items or information, regardless of the
22   medium or manner in which it is generated, stored, or maintained (including, among
23   other things, testimony, transcripts, and tangible things), that are produced or generated in
24   disclosures or responses to discovery in this matter.
25          3.8    Expert: a person with specialized knowledge or experience in a matter
26   pertinent to the litigation who has been retained by a Party or its counsel to serve as an
27   expert witness or as a consultant in this Action.
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     CASE NO.: 2:21-cv-1619-DMG-KS                3                [PROPOSED] PROTECTIVE ORDER
     Case 2:21-cv-01619-DMG-KS       Document 35 Filed 04/15/21          Page 4 of 15 Page ID
                                           #:427

 1          3.9     House Counsel: attorneys who are employees of a party to this Action.
 2   House Counsel does not include Outside Counsel of Record or any other outside counsel.
 3          3.10 Non-Party: any natural person, partnership, corporation, association, or other
 4   legal entity not named as a Party to this action.
 5          3.11 Outside Counsel of Record: attorneys who are not employees of a party to
 6   this Action but are retained to represent or advise a party to this Action and have
 7   appeared in this Action on behalf of that party or are affiliated with a law firm that has
 8   appeared on behalf of that party, including support staff.
 9          3.12 Party:      any party to this Action, including all of its officers, directors,
10   employees, consultants, retained experts, and Outside Counsel of Record (and their
11   support staffs).
12          3.13 Producing Party: a Party or Non-Party that produces Disclosure or
13   Discovery Material in this Action.
14          3.14 Professional Vendors: persons or entities that provide litigation support
15   services     (e.g.,   photocopying,   videotaping,   translating,    preparing   exhibits   or
16   demonstrations, and organizing, storing, or retrieving data in any form or medium) and
17   their employees and subcontractors.
18          3.15 Protected Material: any Disclosure or Discovery Material that is designated
19   as “CONFIDENTIAL or “HIGHLY CONFIDENTIAL.”
20          3.16 Receiving Party: a Party that receives Disclosure or Discovery Material from
21   a Producing Party.
22   4.     SCOPE
23          The protections conferred by this Order cover not only Protected Material (as
24   defined above), but also (1) any information copied or extracted from Protected Material;
25   (2) all copies, excerpts, summaries, or compilations of Protected Material; and (3) any
26   testimony, conversations, or presentations by Parties or their Counsel that might reveal
27   Protected Material. Any use of Protected Material at trial shall be governed by the orders
28   of the trial judge. This Order does not govern the use of Protected Material at trial.


     CASE NO.: 2:21-cv-1619-DMG-KS                4                 [PROPOSED] PROTECTIVE ORDER
     Case 2:21-cv-01619-DMG-KS       Document 35 Filed 04/15/21      Page 5 of 15 Page ID
                                           #:428

 1   5.     DURATION
 2          Once a case proceeds to trial, all of the court-filed information to be introduced
 3   that was previously designated as confidential or maintained pursuant to this protective
 4   order becomes public and will be presumptively available to all members of the public,
 5   including the press, unless compelling reasons supported by specific factual findings to
 6   proceed otherwise are made to the trial judge in advance of the trial. See Kamakana v.
 7   City and County of Honolulu, 447 F.3d 1172, 1180-81 (9th Cir. 2006) (distinguishing
 8   “good cause” showing for sealing documents produced in discovery from “compelling
 9   reasons” standard when merits-related documents are part of court record). Accordingly,
10   the terms of this protective order do not extend beyond the commencement of the trial.
11   6.     DESIGNATING PROTECTED MATERIAL
12          6.1    Exercise of Restraint and Care in Designating Material for Protection. Each
13   Party or Non-Party that designates information or items for protection under this Order
14   must take care to limit any such designation to specific material that qualifies under the
15   appropriate standards. The Designating Party must designate for protection only those
16   parts of material, documents, items, or oral or written communications that qualify so that
17   other portions of the material, documents, items, or communications for which protection
18   is not warranted are not swept unjustifiably within the ambit of this Order.
19          Mass, indiscriminate, or routinized designations are prohibited. Designations that
20   are shown to be clearly unjustified or that have been made for an improper purpose (e.g.,
21   to unnecessarily encumber the case development process or to impose unnecessary
22   expenses and burdens on other parties) may expose the Designating Party to sanctions.
23          If it comes to a Designating Party’s attention that information or items that it
24   designated for protection do not qualify for protection, that Designating Party must
25   promptly notify all other Parties that it is withdrawing the inapplicable designation.
26          6.2    Manner and Timing of Designations. Except as otherwise provided in this
27   Order (see, e.g., second paragraph of section 7.2(a) below), or as otherwise stipulated or
28


     CASE NO.: 2:21-cv-1619-DMG-KS               5                 [PROPOSED] PROTECTIVE ORDER
     Case 2:21-cv-01619-DMG-KS       Document 35 Filed 04/15/21     Page 6 of 15 Page ID
                                           #:429

 1   ordered, Disclosure or Discovery Material that qualifies for protection under this Order
 2   must be clearly so designated before the material is disclosed or produced.
 3          Designation in conformity with this Order requires:
 4               (a) for information in documentary form (e.g., paper or electronic documents,
 5   but excluding transcripts of depositions or other pretrial or trial proceedings), that the
 6   Producing Party affix, at a minimum, the legend “CONFIDENTIAL” or “HIGHLY
 7   CONFIDENTIAL”, to each page that contains protected material. If only a portion or
 8   portions of the material on a page qualifies for protection, the Producing Party also must
 9   clearly identify the protected portion(s) (e.g., by making appropriate markings in the
10   margins).
11          A Party or Non-Party that makes original documents available for inspection need
12   not designate them for protection until after the inspecting Party has indicated which
13   documents it would like copied and produced. During the inspection and before the
14   designation, all of the material made available for inspection shall be deemed
15   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.” After the inspecting Party has
16   identified the documents it wants copied and produced, the Producing Party must
17   determine which documents, or portions thereof, qualify for protection under this Order.
18   Then, before producing the specified documents, the Producing Party must affix a
19   CONFIDENTIAL legend or HIGHLY CONFIDENTIAL legend to each page that
20   contains Protected Material. If only a portion or portions of the material on a page
21   qualifies for protection, the Producing Party also must clearly identify the protected
22   portion(s) (e.g., by making appropriate markings in the margins).
23               (b) for testimony given in depositions that the Designating Party identify the
24   Disclosure or Discovery Material on the record, before the close of the deposition.
25               (c) for information produced in some form other than documentary and for
26   any other tangible items, that the Producing Party affix in a prominent place on the
27   exterior of the container or containers in which the information is stored the legend
28   “CONFIDENTIAL or “HIGHLY CONFIDENTIAL.” If only a portion or portions of the


     CASE NO.: 2:21-cv-1619-DMG-KS              6                 [PROPOSED] PROTECTIVE ORDER
     Case 2:21-cv-01619-DMG-KS         Document 35 Filed 04/15/21     Page 7 of 15 Page ID
                                             #:430

 1   information warrants protection, the Producing Party, to the extent practicable, shall
 2   identify the protected portion(s).
 3          6.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent failure
 4   to designate qualified information or items does not, standing alone, waive the
 5   Designating Party’s right to secure protection under this Order for such material. Upon
 6   timely correction of a designation, the Receiving Party must make reasonable efforts to
 7   assure that the material is treated in accordance with the provisions of this Order.
 8   7.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
 9          7.1    Timing of Challenges. Any Party or Non-Party may challenge a designation
10   of confidentiality at any time.
11          7.2    Meet and Confer. The Challenging Party shall initiate the dispute resolution
12   process under Local Rule 37.1, et seq. Any discovery motion must strictly comply with
13   the procedures set forth in Local Rules 37-1, 37-2, and 37-3.
14          7.3    Burden. The burden of persuasion in any such challenge proceeding shall be
15   on the Designating Party. Frivolous challenges, and those made for an improper purpose
16   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may expose
17   the Challenging Party to sanctions. Unless the Designating Party has waived or
18   withdrawn the confidentiality designation, all parties shall continue to afford the material
19   in question the level of protection to which it is entitled under the Producing Party’s
20   designation until the Court rules on the challenge.
21   8.     ACCESS TO AND USE OF PROTECTED MATERIAL
22          8.1    Basic Principles. A Receiving Party may use Protected Material that is
23   disclosed or produced by another Party or by a Non-Party in connection with this Action
24   only for prosecuting, defending, or attempting to settle this Action. Such Protected
25   Material may be disclosed only to the categories of persons and under the conditions
26   described in this Order. When the Action has been terminated, a Receiving Party must
27   comply with the provisions of section 14 below (FINAL DISPOSITION). Protected
28


     CASE NO.: 2:21-cv-1619-DMG-KS                7                  [PROPOSED] PROTECTIVE ORDER
     Case 2:21-cv-01619-DMG-KS        Document 35 Filed 04/15/21    Page 8 of 15 Page ID
                                            #:431

 1   Material must be stored and maintained by a Receiving Party at a location and in a secure
 2   manner that ensures that access is limited to the persons authorized under this Order.
 3          8.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
 4   ordered by the Court or permitted in writing by the Designating Party, a Receiving Party
 5   may disclose any information or item designated “CONFIDENTIAL” only to:
 6                (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
 7   as employees of said Outside Counsel of Record to whom it is reasonably necessary to
 8   disclose the information for this Action;
 9                (b) the officers, directors, and employees (including House Counsel) of the
10   Receiving Party to whom disclosure is reasonably necessary for this Action;
11                (c) Experts (as defined in this Order) of the Receiving Party to whom
12   disclosure is reasonably necessary for this Action and who have signed the
13   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
14                (d) the Court and its personnel;
15                (e) court reporters and their staff;
16                (f) professional jury or trial consultants, mock jurors, and Professional
17   Vendors to whom disclosure is reasonably necessary for this Action and who have signed
18   the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
19                (g) the author or recipient of a document containing the information or a
20   custodian or other person who otherwise possessed or knew the information;
21                (h) during their depositions, witnesses, and attorneys for witnesses, in the
22   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
23   requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they will not
24   be permitted to keep any confidential information unless they sign the “Acknowledgment
25   and Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the Designating
26   Party or ordered by the Court. Pages of transcribed deposition testimony or exhibits to
27   depositions that reveal Protected Material may be separately bound by the court reporter
28   and may not be disclosed to anyone except as permitted under this Protective Order; and


     CASE NO.: 2:21-cv-1619-DMG-KS                 8               [PROPOSED] PROTECTIVE ORDER
     Case 2:21-cv-01619-DMG-KS       Document 35 Filed 04/15/21      Page 9 of 15 Page ID
                                           #:432

 1                (i) any mediator or settlement officer, and their supporting personnel,
 2   mutually agreed upon by any of the parties engaged in settlement discussions.
 3          8.3    Disclosure of “HIGHLY CONFIDENTIAL” Information or Items. Unless
 4   otherwise ordered by the court or permitted in writing by the Designating Party, a
 5   Receiving Party may disclose any information or item designated “HIGHLY
 6   CONFIDENTIAL” only to:
 7                (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
 8   as employees of said Outside Counsel of Record to whom it is reasonably necessary to
 9   disclose the information for this Action;
10                (b) Experts (as defined in this Order) of the Receiving Party to whom
11   disclosure is reasonably necessary for this Action and who have signed the
12   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
13                (c) the court and its personnel;
14                (d) private court reporters and their staff to whom disclosure is reasonably
15   necessary for this Action and who have signed the “Acknowledgment and Agreement to
16   Be Bound” (Exhibit A);
17                (e) professional jury or trial consultants, mock jurors, and Professional
18   Vendors to whom disclosure is reasonably necessary for this Action and who have signed
19   the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
20                (f) the author or recipient of a document containing the information or a
21   custodian or other person who otherwise possessed or knew the information; and
22                (g) any mediator or settlement officer, and their supporting personnel,
23   mutually agreed upon by any of the parties engaged in settlement discussions.
24   9.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
25          OTHER LITIGATION
26          If a Party is served with a subpoena or a court order issued in other litigation that
27   compels disclosure of any information or items designated in this Action as
28   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL,” that Party must:


     CASE NO.: 2:21-cv-1619-DMG-KS                   9             [PROPOSED] PROTECTIVE ORDER
     Case 2:21-cv-01619-DMG-KS           Document 35 Filed 04/15/21     Page 10 of 15 Page ID
                                                #:433

 1                  (a) promptly notify in writing the Designating Party. Such notification shall
 2    include a copy of the subpoena or court order;
 3                  (b)     promptly notify in writing the party who caused the subpoena or order to
 4    issue in the other litigation that some or all of the material covered by the subpoena or
 5    order is subject to this Protective Order. Such notification shall include a copy of this
 6    Protective Order; and
 7                  (c) cooperate with respect to all reasonable procedures sought to be pursued
 8    by the Designating Party whose Protected Material may be affected.
 9            If the Designating Party timely seeks a protective order, the Party served with the
10    subpoena or court order shall not produce any information designated in this action as
11    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” before a determination by the
12    court from which the subpoena or order issued, unless the Party has obtained the
13    Designating Party’s permission. The Designating Party shall bear the burden and expense
14    of seeking protection in that court of its confidential material and nothing in these
15    provisions should be construed as authorizing or encouraging a Receiving Party in this
16    Action to disobey a lawful directive from another court.
17    10.     A     NON-PARTY’S             PROTECTED           MATERIAL    SOUGHT        TO    BE
18            PRODUCED IN THIS LITIGATION
19                  (a) The terms of this Order are applicable to information produced by a Non-
20    Party    in    this    Action   and    designated    as    “CONFIDENTIAL”     or   “HIGHLY
21    CONFIDENTIAL.” Such information produced by Non-Parties in connection with this
22    litigation is protected by the remedies and relief provided by this Order. Nothing in these
23    provisions should be construed as prohibiting a Non-Party from seeking additional
24    protections.
25                  (b)     In the event that a Party is required, by a valid discovery request, to
26    produce a NonParty’s confidential information in its possession, and the Party is subject
27    to an agreement with the Non-Party not to produce the Non-Party’s confidential
28    information, then the Party shall:


      CASE NO.: 2:21-cv-1619-DMG-KS                   10               [PROPOSED] PROTECTIVE ORDER
     Case 2:21-cv-01619-DMG-KS        Document 35 Filed 04/15/21     Page 11 of 15 Page ID
                                             #:434

 1                      (1) promptly notify in writing the Requesting Party and the Non-Party
 2    that some or all of the information requested is subject to a confidentiality agreement
 3    with a Non-Party;
 4                      (2) promptly provide the Non-Party with a copy of the Protective Order
 5    in this Action, the relevant discovery request(s), and a reasonably specific description of
 6    the information requested; and
 7                      (3) make the information requested available for inspection by the Non-
 8    Party, if requested.
 9                (c) If the Non-Party fails to seek a protective order from this Court within 14
10    days of receiving the notice and accompanying information, the Receiving Party may
11    produce the Non-Party’s confidential information responsive to the discovery request. If
12    the Non-Party timely seeks a protective order, the Receiving Party shall not produce any
13    information in its possession or control that is subject to the confidentiality agreement
14    with the Non-Party before a determination by the Court. Absent a court order to the
15    contrary, the Non-Party shall bear the burden and expense of seeking protection in this
16    Court of its Protected Material.
17    11.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
18           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
19    Protected Material to any person or in any circumstance not authorized under this
20    Protective Order, the Receiving Party must immediately (a) notify in writing the
21    Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve all
22    unauthorized copies of the Protected Material, (c) inform the person or persons to whom
23    unauthorized disclosures were made of all the terms of this Order, and (d) request such
24    person or persons to execute the “Acknowledgment and Agreement to Be Bound” that is
25    attached hereto as Exhibit A.
26    ///
27    ///
28    ///


      CASE NO.: 2:21-cv-1619-DMG-KS               11               [PROPOSED] PROTECTIVE ORDER
     Case 2:21-cv-01619-DMG-KS        Document 35 Filed 04/15/21     Page 12 of 15 Page ID
                                             #:435

 1    12.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 2           PROTECTED MATERIAL
 3           Pursuant to Rule 502 of the Federal Rules of Evidence, the inadvertent disclosure
 4    of communications, documents, or information protected by the attorney-client privilege,
 5    work product doctrine, or any other privilege (“Privileged Material”) shall not constitute
 6    a waiver of any privilege or other protection if the Producing Party took reasonable steps
 7    to prevent disclosure and also took reasonable steps to rectify the error in the event of an
 8    inadvertent disclosure. The Producing Party will be deemed to have taken reasonable
 9    steps to prevent Privileged Material from inadvertent disclosure if that party utilized
10    either attorney screening, keyword search term screening, advanced analytical software
11    applications and/or linguistic tools in screening for privilege, work product, or other
12    protection.    In the event of the inadvertent disclosure of Privileged Material, the
13    Producing Party shall be deemed to have taken reasonable steps to rectify the error of the
14    disclosure if, within thirty (30) days from the date that the inadvertent disclosure was
15    discovered or brought to the attention of the Producing Party, the Producing Party notifies
16    the Receiving Party of the inadvertent disclosure and instructs the Receiving Party to
17    promptly sequester, return, delete, or destroy all copies of the inadvertently produced
18    Privileged Material (including any and all work product containing such Privileged
19    Material). The Receiving Party also has an affirmative obligation to notify the Producing
20    Party if it receives communications, documents, or information that appear to constitute
21    Privileged Material.     Upon receiving such a request from the Producing Party, the
22    Receiving Party shall promptly sequester, return, delete, or destroy all copies of such
23    inadvertently produced Privileged Material (including any and all work product
24    containing such Privileged Material), and shall make no further use of such Privileged
25    Material (or work product containing such Privileged Material).
26    13.    MISCELLANEOUS
27           13.1 Right to Further Relief. Nothing in this Order abridges the right of any
28    person to seek its modification by the Court in the future.


      CASE NO.: 2:21-cv-1619-DMG-KS               12                [PROPOSED] PROTECTIVE ORDER
     Case 2:21-cv-01619-DMG-KS         Document 35 Filed 04/15/21       Page 13 of 15 Page ID
                                              #:436

 1             13.2 Right to Assert Other Objections. Through entry of this Protective Order, no
 2    Party waives any right it otherwise would have to object to disclosing or producing any
 3    information or item on any ground not addressed in this Protective Order. Similarly, no
 4    Party waives any right to object on any ground to use in evidence of any of the material
 5    covered by this Protective Order. The entering of the Protective Order and subsequent
 6    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” designation does not prohibit a
 7    Party from redacting privileged, irrelevant and/or private confidential information from
 8    documents designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.”
 9             13.3 Filing Protected Material. A Party that seeks to file under seal any Protected
10    Material must comply with Civil Local Rule 79-5. Protected Material may only be filed
11    under seal pursuant to a court order authorizing the sealing of the specific Protected
12    Material at issue; good cause must be shown in the request to file under seal. If a Party’s
13    request to file Protected Material under seal is denied by the Court, then the Receiving
14    Party may file the information in the public record unless otherwise instructed by the
15    Court.
16    14.      FINAL DISPOSITION
17             After the final disposition of this Action, within 60 days of a written request by the
18    Designating Party, each Receiving Party must return all Protected Material to the
19    Producing Party or destroy such material. As used in this subdivision, “all Protected
20    Material” includes all copies, abstracts, compilations, summaries, and any other format
21    reproducing or capturing any of the Protected Material. Whether the Protected Material is
22    returned or destroyed, the Receiving Party must submit a written certification to the
23    Producing Party (and, if not the same person or entity, to the Designating Party) by the 60
24    day deadline that (1) identifies (by category, where appropriate) all the Protected Material
25    that was returned or destroyed and (2) affirms that the Receiving Party has not retained
26    any copies, abstracts, compilations, summaries or any other format reproducing or
27    capturing any of the Protected Material. Notwithstanding this provision, counsel are
28    entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and


      CASE NO.: 2:21-cv-1619-DMG-KS                  13                [PROPOSED] PROTECTIVE ORDER
Case 2:21-cv-01619-DMG-KS   Document 35 Filed 04/15/21   Page 14 of 15 Page ID
                                   #:437
     Case 2:21-cv-01619-DMG-KS        Document 35 Filed 04/15/21      Page 15 of 15 Page ID
                                             #:438

 1                                           EXHIBIT A
 2                  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3           I, _______________________ [print or type full name], of
 4           [print or type full address], declare under penalty of perjury that I have read in its
 5    entirety and understand the Protective Order that was issued by the United States District
 6    Court for the Central District of California on ______ in the case of PerkinElmer Health
 7    Sciences, Inc., PerkinElmer Genetics, Inc. and PerkinElmer, Inc. v. Mahnaz Salem, Case
 8    No. 2:21-cv-1619-DMG-KS. I agree to comply with and to be bound by all the terms of
 9    this Protective Order and I understand and acknowledge that failure to so comply could
10    expose me to sanctions and punishment in the nature of contempt. I solemnly promise
11    that I will not disclose in any manner any information or item that is subject to this
12    Protective Order to any person or entity except in strict compliance with the provisions of
13    this Order.
14           I further agree to submit to the jurisdiction of the United States District Court for
15    the Central District of California for the purpose of enforcing the terms of this Protective
16    Order, even if such enforcement proceedings occur after termination of this action. I
17    hereby appoint                                       [print   or   type   full   name]    of
18    _____________________________________ [print or type full address and telephone
19    number] as my California agent for service of process in connection with this action or
20    any proceedings related to enforcement of this Protective Order.
21

22    Printed name: _______________________________
23

24    Signature: _____________________________
25

26

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      CASE NO.: 2:21-cv-1619-DMG-KS               15                [PROPOSED] PROTECTIVE ORDER
